






	











NUMBER 13-08-00627-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

								

KIMBERLY LONGBINE A/K/A KIMBERLY BOLER 

A/K/A KIMBERLY COQUAT,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

____________________________________________________________


On Appeal from the 347th District Court


of Nueces County, Texas.


____________________________________________________________


MEMORANDUM OPINION



 Before Justices Rodriguez, Garza, and Vela 


Memorandum Opinion Per Curiam



	Appellant, Kimberly Longbine a/k/a Kimberly Boler a/k/a Kimberly Coquat, by and
through her attorney, has filed a motion to dismiss her appeal because she no longer
desires to prosecute it.  See Tex. R. App. P. 42.2(a).  Without passing on the merits of the
case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure
42.2(a) and dismiss the appeal.  Having dismissed the appeal at appellant's request, no
motion for rehearing will be entertained, and our mandate will issue forthwith.



								PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).  

Memorandum Opinion delivered and filed

this 17th day of September, 2009.


